ETOMIS - Grievance                                                                                                          Page 1 of 1
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                               Id                                                                            Date            Date
                           00347567          COUNSELING STAF                        R           TTCC    03/19/2021       03/22/2021
                           00343011      SV HEALTH SERVICES                                 R   TTCC    07 / 03/2020     07/13 / 2020
                           003397 99     ST VISITATION                                  R       TTCC    01/1 3/2020      01 / 28/2020
                           00337 4 02     L RELIGION RELATE                                 R   TTCC    08/29/2019       12/ 13/ 2019

                           00335385       L RELI GI ON RELATE                               R   TTCC    06/07/201 9      11/21/ 2019
   Enter                   00331686      IB LIBRARY                                 R           TTCC    01 / 11/2019     01 / 23 / 2019
                           0032977 7     RO PROPERTY                                        R   TTCC    10/27/2018       11/27 / 2018
                           0032677 4      L RELI GION RELATE                 y              R   TTCC    06/28 / 2018     08/28 / 2018

                           00325686     IPP INSTI TUTIONAL P                 y              R   TTCC    05/22/2018       07/09 / 2018

                           00324036      OL TDOC POLI CY                                    R   TCI X   03/20 / 2018     04 / 03 / 2018



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          Case 3:22-cv-00093 Document 33-18 Filed 05/04/22 Page 1 of 50 PageID #: 2482
ETOMIS - Grievance                                                                                                    Page I of I
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                        00323402          FOOD SERVICE                        R              NECX   02/22/2018      04/03/2018
                        00315665          FOOD SERVICE                                  R    NECX   06/01 /2017     07/13/2017

                        0 0315271     L RELIGION RELATE                                 R    NECX   05/18/2017      06/13/2017
                        00314842      S ADMINISTRATIVE                                   R   NECX   05 / 04/2017    05/22/2017

                        00311424     TP STAFF PERFORM. ,               y      w              NECX   01/26/2017      02/03/2017
  Enter                               L RELIGION RELATE                       R              NECX   12/29/2016      01/06/2017
                        00310490
                        00309368     SE FOOD SERVICE                          w              WTSP   11/29/2016      09/15/2016
  First
                        00308583      S ADMINISTRATIVE                 y      w              NECX   11/09/2016      11/15/2016

                        00303604      S ADMINISTRATIVE                        R              NECX   06/30/2016      07/08/2016

                        00301777      L RELIGION RELATE                                  R   NECX   05/11/2016      07/26/2016


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ETOMIS - Grievance                                                                                                         Page 1 of 1
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                         00297546    FSE FOOD SERVICE                                   R    NECX   01/11/2016          03/03/2016
                         00296568    ADS ADMINI STRATIVE                                R    NECX   12/03/2015          01/21/2016
                         00294990    FSE FOOD SERVICE                                   R    NECX   10/15/2015          1 2/09/2015
                         00293936    ADS ADMINISTRATIVE                                 R    NECX   09/10/2015          10/02/2015
                         00291134    FSE FOOD SERVICE                                   R    NECX   06/25/2015          09/24/2015
   Enter                                                                                R    NECX   0 4 /29/2015        05/26/2015
                         00289067    FSE FOOD SERVICE
                         00287246    MAI MAIL                                 R              NECX   03/1 2/2015         03/28/2015
   First
                         00285825    REL RELIGION RELATE               y                 R   NECX   01 /28/2015         05/14/2015

                         00284082    REL RELIGION RELATE               y                 R   NECX   12/08/2014          04/14/2015

                         00283048    REL RELIGION RELATE                                 R   NECX   11/05/2014          01/27/2015    I



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           Case 3:22-cv-00093 Document 33-18 Filed 05/04/22 Page 3 of 50 PageID #: 2484
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                                           TENNESSEE DEPARTMENT OF CORRECTION
                                                         INMATE GRIEVANCE



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                              NAME                                          NUMBER                               INSTITUTION & UNIT




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                            Signature of Grievant                                                                       Date



'                                                   TO BE COMPLETED BY GRIEVANCE CLERK




I              Q;rievance Number


     INMATE GRIEVANCE COMMITTEE'S RESPONSE DUE DATE:
                                                            Date Received



                                                                          -------------------------
                                                                                                        Signature Of Grievance Clerk




     AUTHORIZED EXTENSION: _ _ __ _ _ __ __
                                New Due Date                                                           Signature of Grievant
     ------------ --------------------------------------------- ---------------------------
                                                          INMATE GRIEVANCE RESPONSE
     Summary of Supervisor's Response/Evidence: - - - - - - -- - - -- - - - - - - - - - -- - - - - - -- - -




     Chairperson's Response and Reason(s): - - - - - -- - - - - - - -- - -- - - - - - - - - - - - - - - --




     DATE: _ _ _ _ __                       CHAIRPERSON: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

     Do you wish to appeal this response?                ✓      YES              _ _ _ NO
     If yes:   Sign, date, and return to chairman for processing within five (5) days of receipt of first-level response.



                         GRIEVANT                                        DATE                                       WITNESS


     Distribution Upon Final Resolution:
                White - Inmate Grievant     Canary- Warden     Pink- Grievance Committee       Goldenrod - Commissioner (if applicable)
         CR-1394 (Rev. 3~0)                                           Page 1 of 2                                                    RDA 2244

                                                                       CCI 000802
        Case 3:22-cv-00093 Document 33-18 Filed 05/04/22 Page 4 of 50 PageID #: 2485
                                      TENNESSEE DEPARTMENT OF CORRECTION
                                  INMATE GRIEVANCE                   {continuation sheet)




Distribution Upon Final Resolution:
           White - Inmate Grievant     Canary - Warden   Pink - Grievance Committee   Goldenrod - Commissioner (if applicable)
    CR-1394 (Rev. 3-00)                                       Page 2 of 2                                                 RDA 2244

                                                                  CCI 000803
   Case 3:22-cv-00093 Document 33-18 Filed 05/04/22 Page 5 of 50 PageID #: 2486
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                                                                    TENNESSEE DEPARTMENT OF CORRECTION
                                                 RESPONSE OF SUPERVISOR OF GRJEVED EMPLOYEE OR DEPARTMENT




                  DATE..._:_,_/_- -'-
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                                                             0_                                  Please respond to the attached grievance, indicating any action taken .
                                                                                                 Date Due:          / · /   ~   · _)   0) 0


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                             Grievance Number                                                      Inmate Name                                    ' lnmale Number




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                                        White - Inmate Grievant               Canary - Warden   Pink - Grievance Committee      Goldenrod - Commissioner

                       CR-3148 (Rev. 3-00)                                                                                                                 RDA2244

                                                                                      CCI 000804
                       Case 3:22-cv-00093 Document 33-18 Filed 05/04/22 Page 6 of 50 PageID #: 2487
          TROUSDALE TURNER CORRECTIONAL CENTER
               NOTICE OF GRIEVANCE HEARING


     Date:   '- 2   - .2tJ    Grievant:R   ¼    ,f-    TDOC#: s{73;,;         Grievance#: i.(g-/:,,5)33y1,
                                                 8e3
     Presentduringhearing,      4flfot"z             ~~'---::> _#c:;,-R
                             Grievance (~ordinator     Staff            j/    Staff




                                 Inmate Clerk           Inmate               Inmate

Grievant enters. The Coordinator read the grievance, supervisor's response and the grievance solution .
Procedures were explained.




                                                               CCI 000805
Case 3:22-cv-00093 Document 33-18 Filed 05/04/22 Page 7 of 50 PageID #: 2488
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      GS-07<17 (Rev 9-91)
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Case 3:22-cv-00093 Document 33-18 Filed 05/04/22 Page 8 of 50 PageID #: 2489       CCI 000806
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                              -w                                TENNESSEE DEPARTMENT OF CORRECTION

                                                                      INMATE GRIEVANCE RESPONSE



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                               NAME                    J             NUMBER                   INSTITUTION & UNIT




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                                                 - ~       46                          --                                            MEMBER

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                           MEMBER                                            /         MEMBER                                                MEMBER
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      Warden's Response:                    Agrees with Proposed Response                     QJ

      Disagrees with Proposed Response                                                        •
      If Disagrees, Reason(s) for Disagreement _ _ _ _ _ _ _ _ _ _ _ __ _ _ _ ____;;;__ _ _ _ _ _ _ _-=----=,----




      Do you wish to appeal this response?                      _ _ _ YES          _ _ _ _ NO

      If yes:          Sign, date and return to chairman for processing. Grievant may attach supplemental clarification of issues or rebuttal/reaction
                       to previous responses if so desired.



                              GRIEVANT           ______,,,                             DATE                                           WITNESS


      Commissioner's Response and Reason(s): - - - - - - - - - --==::....:=------==-==------'----'-..;:;__--------- - --




                          DATE                                                                                                   SIGNATURE


      Distribution Upon Final Resolution:
                                 White - Inmate Grievant        Canary - Warden        Pink - Grievance Committee           Goldenrod - Commissioner
      CR-1393 (Rev. 3-00)                                                                                                                              RDA2244



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                   Case 3:22-cv-00093 Document 33-18 Filed 05/04/22 Page 9 of 50 PageID #: 2490
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     .·                                       TENNESSEE DEPARTMENT OF CORRECTION
                                                             INMATE GRIEVANCE

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                                                                                                                        /
                                    NAME                                           NUMBER                             INSTITUTION & UNIT




                                  ~ignature of Grievant                                                                     Date

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                                                          TO BE COMPLETED BY GRIEVANCE CLERK



                    Grievance Number                            Date Received                                Signature Of Grievance Clerk


          INMATE GRIEVANCE COMMITTEE'S RESPONSE DUE DATE: _ _ _ _ _ _ _ __ _ __ _ _ __ _ _ __ _ __

          AUTHORIZED EXTENSION: _ _ _ _ _ _ _ _ __ _
                                      New Due Date                                                          Signature of Grievant

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                                                               INMATE GRIEVANCE RESPONSE
          Summary of Supervisor's Response/Evidence: - - - - - - -- - - - - - - - - -- -- - - - - -- -- - - - - -




          Chairperson's Response and Reason(s): - - -- - - - - -- - - -- - - - - -- - - - - - -- - - - -- -- --




                                                  CHAIRPERSON :

t.        Do you wish to appeal this response?            ___           YES             ___       NO
          If yes:   Sign, date, and return to chairman for processing within five (5) days of receipt of first-level response.


                                    -----
                                GRIEVANT
                                                                    ,            DATE                                       WITNESS


          Distribution Upon Final Resolution :
                        White - Inmate Grievant   Canary- Warden    Pink- Grievance Committee       Goldenrod - Commissioner (if applicable)

              CR-1394 (Rev. 3-00)                                             Page 1 of 2                                                 RDA 2244

                                                                                 CCI 000808
                 Case 3:22-cv-00093 Document 33-18 Filed 05/04/22 Page 10 of 50 PageID #: 2491
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                                           TENNESSEE DEPARTMENT OF CORRECTION
                                       INMATE GRIEVANCE                  (continuation sheet)




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     Distribution Upon Final Resolution:
                White - Inmate Grievant     Canary- Warden   Pink- Grievance Committee   Goldenrod - Commissioner (if applicable)
         CR-1394 (Rev. 3-00)                                      Page 2 of 2                                                RDA 2244

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        Case 3:22-cv-00093 Document 33-18 Filed 05/04/22 Page 11 of 50 PageID #: 2492
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'11                                                 TENNESSEE DEPARTMENT OF CORRECTION
        ....
                                      RESPONSE OF SUPERVISOR OF GRIEVED EMPLOYEE OR DEPARTMENT


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         DATE:                                                                       Please respond to the attached grievance, indicating any action taken .
                                                                                     Date Due:


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                        Grievance Number                                               Inmate Name                                                       Inmate Number


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                                White - Inmate Grievant    Canary - Warden           Pink - Grievance Committee                    Goldenrod - Commissioner
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                  CR-3148 (Rev. 3-00)                                                                                                                               RDA2244
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                      Case 3:22-cv-00093 Document 33-18 Filed 05/04/22 Page 12 of 50 PageID #: 2493
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                                                          TENNESSEE DEPARTMENT OF CORRECTION
                                                                        INMATE GRIEVANCE RESPONSE




                                                                              L/ ls/10
                                        NAME                   J                  NUMBER            INSTITUTION & UNIT

               Summary of Evidence and Testimony Presented to Committee _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __ _ _ _ _ __




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                          DATE                                     /        CHAIRMAN /     r                                   MEMBER



                   _             MEMBER                                               MEMB~R                                      MEMBER
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               Warden's Response: Agrees with Proposed Response ~
               Disagrees with Proposed Response                                                 D
               If Disagrees, Reason(s) for D i s a g r e e m e n t - - - - - - - - - - - - - - - - - - - - - - - - - ~ - - - - , , - - - - - - -




               DATE:     '7-:--1~
               Do you wish to appeal this response?                    _ _ _ YES
               If yes:   Sign, date, and return to chairman for processing. Grievant may attach supplemental clarification of issues.or rebuttal/reaction
                         to previous responses if so desired.


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                                       GRIEVANT          _              . - _,,          DATE                                 WITNESS
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               Commissioner's Response and Reason(s): - - - - - - - - - - - - - - - - - - - - - - -- - - - - - - - - -




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               Distribution Upon Final Resolution:
                                   White - Inmate q_ri,evant   Canary - Warden       Pink - Grievance Committee   Goldenrod - Commissioner
               CR-1393 (Rev. 3-00)                                                                                                       RDA2244

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                  Case 3:22-cv-00093 Document 33-18 Filed 05/04/22 Page 13 of 50 PageID #: 2494
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                                                        TENNESSEE DEPARTMENT OF CORRECTION
                           ?=                     J                 INMATE GRIEVANCE RESPONSE
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                                                                           NUMBER                       INSTITUTION & UNIT                        GRIENANCE NUMBER

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 Summary of Evidence and Testimony Presented to Committee _ _ _ _ __ _ _ _ _ _ __




 Inmate Grievance Committee's Response and Reasons __;f"-',--''·=--<_v                               _ _~--~£=--c"
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                                                            7         CHAIRMAN            r                                                   MEMBER



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 Warden's Response:             Agrees with Proposed Response
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 Disagrees with Proposed Response
 If Disagrees, Reason(s) for Disagreement _ _ _ __ _ __ __ _ __ _ _ _ _ __ __
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 Action Taken:                                                                                ~

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 Do you wish to appeal this response?
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 If yes:   Sign, date, and return to chairman for processing. Grievant may attach supplemental clarification



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 Distribution Upon Final Resolution:
                   White - Inmate Grievant                   Canary - Warden         Pink - Grievance Committee             Goldenrod - Commissioner

 CR-1393 (Rev. 3-00)                                                                                                                                         RDA2244




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Case 3:22-cv-00093 Document 33-18 Filed 05/04/22 Page 14 of 50 PageID #: 2495
          .Correction                                                                                          lVfEl\10




Inmate Name:        J:>"f 1 Pie, -t,-.1:- Be0                        TDOC Numbe r: _!:DJ_1~1-=o~ _


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 Commis sioner's Response:




 D    Concur with Warden                   1.. oncur- wit. h Supervi. sor
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Case 3:22-cv-00093 Document 33-18 Filed 05/04/22 Page 15 of 50 PageID #: 2496
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                                  TENNESSEE DEPARTMENT                9fe                                ~ l ~-z, {)-Ua- ' _
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                                                INMATE GRIEVANCE
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          Grievance Number                        Date Received


INMATE GRIEVANCE COMMITTEE'S RESPONSE DUE DATE: _ __ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

AUTHORIZED EXTENSION: _ _ _ __ _ __ _ _
                           New Due Date                                                          Signature of Grievant
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                                                 INMATE GRIEVANCE RESPONSE
Summary of Supervisor's Response/Evidence:     T \ VV\       Y)   Qd        O.~ l \    \,A,)   ~ t"'L-, ~ d- O}e..,
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Chairperson's Response and Reason(s):       lC)nwv             \.,./\.J\      &\.l'{)e..._rv ,~        f




DATE:     3) ~"' ~Od \                CHAIRPERSON:      ~· Ct)
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Do you wish to appeal this response?                   YES                   ~NO
If yes:   Sign, d




Distribution Upon Final Resolution:
           White - Inmate Grievant    Canary-Warden   Pink- Grievance Committee         Goldenrod - Commissioner (if applicable)
    CR-1394 (Rev. 3-00)                                      Page 1 of 2                                                    RDA 2244

                                                                    CCI 000814
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                                  TENNESSEE DEPARTMENT OF CORRECTION
                                 INMATE GRIEVANCE                  (continuation sheet)




Distribution Upon Final Resolution:
           White - Inmate Grievant    Canary - Warden   Pink - Grievance Committee   Goldenrod - Commissioner (if applicable)
    CR-1394 (Rev. 3-00)                                      Page 2 of2                                                  RDA2244

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                                     TENNESSEE DEPARTMENT OF CORRECTION
                       RESPONSE OF SUPERVISOR OF GRIEVED EMPLOYEE OR DEPARTMENT



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                  White - Inmate Grievant   Canary - Warden   Pink - Grievance Committee   Goldenrod - Commissioner

      CR-3148 (Rev. 3-00)                                                                                              RDA 2244

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 ETOMIS - Grievance                                                                                                       Page 1 of 1


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                                                                                                                    l
                             00326774     jru:L RELIGION RELATE                                                         06/28/2018
                             00325686
                                          I
                                          :IPP INS'l'I'l'U'l'IONAL P
                             0032 4036 J_POL '!'DOC POLICY
                                                                          ---=-1
                                                                                   y
                                                                                                     j   ~   TTCC
                                                                                                             TTCC
                                                                                                             TCIX
                                                                                                                        05/22/2018
                                                                                                                        03/20/2018


                            Search




    FastPath


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                                                                CCI 000817
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                                      Menu      Favorit!ls      Tools     Other Application           Repo            Help

   eTorn is
   I.Inks ~    '   -   ...•           Grievance

                                                             Pleasant-bey, Boaz                              Status    ACTV


    Reset key fields                               Sita Coordinator       Central Office        Commissioner


    Inquire                                                             Site   TTCC         Trousdale Turner Correction
                              Grievance ID     00325686
    Refresh
                              Category         REG            Regular - Standard
    Modify
                              Grievance Type IPP              Institutional Policies/proced
    Delete
                              Signed Date      04/28/2018                                  Title VI Complaint           Ives
                              Log Date         05/22/2018                                  Institution Log Number            319:

                              Grieved Against COCKLY01

                              Grievance Text   INMATE CLAIMS THAT HE IS BEING DISCRIMINATED AGAINST
                              BEING PLACED IN THE LOCKDOWN UNITS OR GANG UNITS BECAUSE HE'S A B:W
                              MALE.




                              Posted By COCKLY01 Cockrell, Lybrunca                            Date     05/22/2018




    FastPath




  http://10.10.166.26:8096/Xhtml?JacadaApplicationName=ETOMIS&Sessionld=-1774362... 3/25/2021


                                                                CCI 000818
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                                                 Favorites      Tools     Other Applications      Reports         Help

   eT01nis
                              TOMIS ID        I I•           Pleasant-bey, Boaz                          Status    ACTV


                               Description           Site Coordinator     Central Offloe       Commissioner
    Reset key fields

    Inquire                Grievance ID      00325686                                  Category   REG Regular - Stanc
    Refresh                Grievance Type       IPP    Institutional Policies/proced              Title VI Complaint       '{
    Modify
                           Log Date          05/22/2018                                           Institution Log Numb
    Delete
                           Site Coordinator Response Date Due           05/30/2018                Actual      05/30/2018

                           Chairperson Notification Date Due            05/31/2018                Actual      05/30/2018

                           Action Taken                                                           Date

                           Deemed Title VI by Site Coord        N

                           Referral to Central Offc. Date Due           06/13/2018                Actual      06/06/2018

                                                                          Comments
                                  IT WAS NOTED THAT INMATE PLEASANT-BEY IS NOT BEING DISCRIMINATED
                                  AGAINST. INMATE IS HOUSED ACCORDINGLY PER POLICY AND PROCEDURES.




                           Posted By      COCKL Y01       Cockrell, Lybrunca                      Date        06/07/2018
    FastPath




  http://10.10.166.26:8096/Xhtml?JacadaApplicationName=ETOMIS&Sessionld=-1774362... 3/25/2021


                                                                CCI 000819
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                                      Menu       Favorites      Tools     Other Applications        Reports       Help




                              TOMIS ID           4           Pleasant-bey, Boaz                          Status    ACTV


    Reset key fields           Description           Sito Coordinator      Central Office   1   Commissioner


    Inquire                Grievance ID      00325686                                    Category    REG Regular - Stan
    Refresh                Grievance Type        IPP     Institutional Policies/proced              Title VI Complaint
    Modify                 Log Date          05/22/2018                                              Institution Log Num
    Delete                 Referral to Central Offc. Date Due 06/13/2018                            Actual     06/06/2018

                           Central Office Response Date Due 07/12/2018                               Actual    06/19/2018

                           Central Office Tracking Number           TG-18-5313                       Substantiated by C.t

                           Action Taken      A         Appealed To Next Level                        Date

                           Appeal to Commissioner Date              07/19/2018                       Actual    07/03/2018

                                      ·                                   Comments                                  - -

                                  CONCUR WITH WARDEN




                           Posted By      COCKLY01 Cockrell, Lybrunca                                Date      07/18/2018

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                                                                CCI 000820
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                                                 Favorites       Tools     Other Applications       Reports      Help



    Links .,.
                               TOMIS ID       II •           Pleasant-bey, Boaz                         Status     ACTV


    Reset key fields            Description          Sito Coordinator      Central Office       Commissioner


    Inquire                 Grievance ID       00325686                                  Category    REG       Regular - S

    Refresh                 Grievance Type     IPP      Institutional Policles/proced                Title VI Complaint
    Modify                  Referral to Central Otte. Date Due           06/13/2018                  Actual    06/06/2018
    Delete                  Central Office Tracking Number               T6-18-5313                  Substantiated by C,

                            Appeal to Commissioner Date Due              07/19/2018                  Actual    07/03/2018

                            Commissioner Received Appeal Date 07/09/2018                .b3J
                            Commissioner Response Date Due               08/23/2018                  Actual    07/09/2018

                            Remanded - (Y)es or (N)o         N



                                 ~    •iiliHH1...-...
                                 APPEAL DENIED




                            Decision By    SEXTDA01          Sexton, David                           Date       07/09/2018

                            Posted By      COCKL Y01         Cockrell, Lybrunca                      Date       07/18/2018
    FastPath




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   eToniis
    Links ,...
                              TOMIS ID       II     11        Pleasant-bey, Boaz                            Status    ACTV


    Reset key fields                                Site Coordinator       Central Office         Commissioner


    Inquire
                           Grievance ID       00326774                   Site   TTCC         Trousdale Turner Correction
    Refresh
                           Category           REG              Regular - Standard
    Modify
                           Grievance Type REL                  Religion Related
    Delete
                           Signed Date        06/18/2018                                    Title VI Complai•n t       Ives
                                                                 biJJ
                           Log Date           06/28/2018
                           Grieved Against COCKLY01
                                                                rn                          Institution Log Number          338'



                           Grievance Text     INMATE CLAIMS THAT HE IS BEING DISCRIMINATED AGAINST
                            NOT BEING ABLE TO PRACTICE/EXERCISE HIS ISLAMIC FAITH RELIGION,




                            Posted By COCKLY01 Cockrell, Lybrunca                               Date     06/28/2018



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                                                                CCI 000822
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                                      Menu       Favorites      Tools     Other Applications      Reports         Help

   eTornis
    Linlc.s •   .....•        TOMIS ID        ,, .           Pleasant-bey, Boaz                          Status    ACTV


    Reset key fields           Description           Site Coordinator     Central Office       Commissionor


    Inquire                Grievance ID      00326774                                Category     REG Regular - Stanc
    Refresh                Grievance Type       REL Religion Related                              Title VI Complaint       't
    Modify
                           Log Date          06/28/2018                                           Institution Log Numb
    Delete
                           Site Coordinator Response Date Due           07/06/2018               Actual       07/05/2018
                           Chairperson Notification Date Due            07/09/2018                Actual      07/06/2018
                           Action Taken                                                           Date

                           Deemed Title VI by Site Coard        N

                           Referral to Central Offc. Date Due           07/19/2018                Actual      07/23/2018

                                                                          Comments
                                  IT WAS NOTED THAT INMATE BOAZ-PLEASANT BEY IS NOT BEING DISCRIMINATE
                                  AGAINST. THE FACILITY HAS AN AUTHORIZED APPROVE VENDOR LIST THAT ONI
                                  CONSIST OF UNION SUPPLY.




                           Posted By      COCKLY01        Cockrell, Lybrunca                      Date        07/18/2018
    FastPath




  http://10.10.166.26:8096/Xhtml?JacadaApplicationName=ETOMIS&Sessionld=-1774362... 3/25/2021


                                                                CCI 000823
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                                     Menu          Favorites      Tools     Other Applications      Reports       Help

   eTornis
                 ....•            Grievance

                             TOMIS ID           II •           Pleasant-bey, Boaz                        Status    ACTV


    Reset key fields          Oescrlptron              Site Coordinator     Central Office       Commissioner


    Inquire               Grievance ID      00326774                                    Category    REG Regular - Stan
    Refresh               Grievance Type          REL Religion Related                              Title VI Complaint
    Modify                Log Date          06/28/2018                                              Institution Log Num
    Delete                Referral to Central Offc. Date Due 07/19/2018                             Actual    07/23/2018

                          Central Office Response Date Due 08/23/2018                               Actual     08/09/2018

                          Central Office Tracking Number              TS-18-5426                    Substantiated by C.t

                          Action Taken      A          Appealed To Next Level                       Date

                          Appeal to Commissioner Date                 08/30/2018                     Actual    08/21/2018

                                                                           Comments
                                CONCUR WITH ASSISTANT WARDEN.




                          Posted By    COCKL Y01 Cockrell, Lybrunca                                  Date      08/28/2018
    FastPath




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                                                                CCI 000824
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                                                 Favorites       Tools     Other Applications      Reports      Help



                   .
                  - ,
                               TOMIS ID       II •           Pleasant-bey, Boaz                        Status      ACTV


    Reset key fields            De criptlon          Site Coordinator      Central Office       Commissioner


    Inquire                 Grievance ID       00326774                                 Category    REG        Regular - S

    Refresh                 Grievance Type      REL Religion Related                                Title VI Complaint
    Modify                  Referral to Central Otte. Date Due           07/19/2018                 Actual     07/23/2018
    Delete                  Central Office Tracking Number               TS-18-5426                 Substantiated by C,

                            Appeal to Commissioner Date Due              08/30/2018                 Actual     08/21/2018

                            Commissioner Received Appeal Date 08/24/2018               ~

                            Commissioner Response Date Due               10/05/2018                 Actual     08/28/2018

                            Remanded - (Y)es or (N)o         N

                                                                           Decision
                                   CONCUR WITH CENTRAL OFFICE COORDINATOR.




                            Decision By    SEXTDA01          Sexton, David                          Date       08/28/2018

                            Posted By      COCKLY01          Cockrell, Lybrunca                     Date       08/28/2018
    FastPath




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                                                                CCI 000825
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                                               Favor te       Tools      O her Appllca ons        Reports      Help




    Unk& Y       ... ·•       TOMIS ID       II•           Pleasant-bey, Boaz                         Status     ACTV


                                                    Supervl or                Warden         Commissioner
    Reset key fields

    Inquire                                                            Site   TTCC      Trousdale Turner Correction
                            Grievance ID      00329777
    Refresh
                            Category          REG           Regular - Standard
    Modify
                            Grievance Type PRO              Property
    Delete
                            Signed Date                                                Title VI Complaint        ~
                                              10/24/2018
                                                              ~
                            Log Date                                                   Institution Log Number         371i
                                              10/27/2018      gJJ
                            Grieved Against COCKLY01

                            Grievance Text    INMATE CLAIMS THAT WHEN HE ARRIVED AT TTCC, HIS CASSE
                            PLAYER WAS DROPPED AND DAMAGED BY A TEACHER AND HE FILED A CLAIM. l
                            AS LATER TOLD THAT THE CLAIM WAS DESTROYED AND HE WANTS TO BE ABLE
                            FILE ANOTHER CLAIM,




                            Posted By COCKLY01 Cockrell, Lybrunca                          Date     10/27/2018



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                                                                CCI 000826
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                                       Menu      Favorites      Tools         Othor Application     ~eports         Help

   eTorriis
                               TOMIS ID       II •           Pleasant-bey, Boaz                            Status    ACTV


                               Description             Supervisor       ,       Warden            Commissioner
    Reset key fields

    Inquire
                            Grievance ID 00329777                                Category    REG    Regular - Standard
    Refresh
                            Grievance Type      PRO Property
    Modify

    Delete
                            Log Date      10/27/2018      ~                      Institution Log Number       3717

                            Supervisor Response Date Due            10/31/2018                    Actual   10/31/2018

                            Chairperson Response Date Due           11/06/2018                    Actual   10/31/2018

                            Action Taken A                Date                                    By

                            Appeal to Level 2 Date Due              11/05/2018                    Actual    11/14/2018

                            Extension Number of Days

                                                                            Comments
                                        INMATE PLEASANT-BEY UPON REVIEW OF YOUR CLAIM, THERE WAS
                                        PROOF OF OWNERSHIP SO THE CLAIM WAS DENIED. CLAIM #2018-16



                            Posted By    COCKLY01 Cockrell, Lybrunca                               Date    11/19/2018


    FastPath




  http://10. 10. 166.26:8096/Xhtml?JacadaApplicationName=ETOMIS&Sessionld=-1774362... 3/25/2021


                                                                CCI 000827
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                                      Menu      Favorites       Tools     Other Applications        Reports       Help

   eT01nis
    Link$ •
                              TOMIS ID       11 •           Pleasant-bey, Boaz                           Status    ACTV


                               Descrlptlon          Suporvlsor               Warden            Commissioner
    Reset key fields

    Inquire                Grievance ID        00329777                      Category      REG        Regular - Standard

    Refresh                Grievance Type      PRO Property

    Modify                 Log Date            10/27/2018                    Institution Log              3717

    Delete                 Appeal to Level 2 Date Due       11/05/2018                         Actual    11/14/2018

                           Board Hearing Date Due           11/13/2018                         Actual    11/19/2018
                           Warden Recommendation Date Due               11/20/2018
                                                                                                                          I
                                                                                               Actual    11/20/2018
                                                                                                                          ]
                           Warden Response Date Due 12/03/2018                                 Actual    11/20/2018
                                                            A    (A)gree or (D)isagree
                                                                                                                          l
                           Warden Response Code

                           Action Taken A           Date                                       By

                           Appeal to Level 3 Date Due 12/08/2018                               Actual    11/20/2018
                                                                                                                          j
                           Extension Number of Days

                                                                        Comments
                                       CONCUR WITH SUPERVISOR



    FastPath
                           Posted By COCKL Y01        Cockrell, Lybrunca                       Date       11/12/2019




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                                                                CCI 000828
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                                      Menu      Favorites      Tools      Other Applications    Reports        Help




                                                 3          Pleasant-bey, Boaz                        Status     ACTV


                                                     Supervisor              Warden        - Commfssioner ,



                           Grievance ID        00329777                    Category   REG Regular - Standard

                           Grievance Type      PRO Property

                           Log Date            10/27/2018                  Institution Log Number     3717

                           Appeal to Level 2 Date Due          11/05/2018                 Actual    11/14/2018

                           Appeal to Level 3 Date Due          12/08/2018                 Actual    11/20/2018

                           Appeal Received Level 3 Date 11/27/2018             I- ;
                           Commissioner Response Date Due              01/02/2019         Actual    11/27/2018




                                      r'·149MM1----,
                           Remanded - (Y)es or (N)o            N




                           Decision By

                           Posted By
                                      ==     DOTSLE02

                                             COCKLY01
                                                            Dotson, Lee

                                                            Cockrell, Lybrunca
                                                                                         Date

                                                                                         Date
                                                                                                    11/27/2018

                                                                                                    11/12/2019
                                                                                                                      ~




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                                                                CCI 000829
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                                               Favorites      Tools     other Applications     Reports       Help

   eT01nis
                              TOMIS ID      11 •           Pleasant-bey, Boaz                       Status     ACTV


                                                   Supervisor                Wardon          Commissioner
    Reset key fields

    Inquire                                                           Site   TTCC      Trousdale Turner Correction
                           Grievance ID      00331686
    Refresh
                           Category          INP            Inappropriate - Non-grievable
    Modify
                           Grievance Type LIB               Library
    Delete
                           Signed Date       12/03/2018                               Title VI Complaint

                           Log Date          01/11/2019                               Institution Log Number        3931

                           Grieved Against COCKLY01

                           Grievance Text     INMATE CLAIMS THAT TWO COMPUTERS IN THE LIBRARY HAVE

                           BROKEN FOR OVER 90 DAYS,




                           Posted By COCKLY01 Cockrell, Lybrunca                          Date    01/11/2019



    FastPath




  http://10.10.166.26:8096/Xhtml?JacadaApplicationName=ETOMIS&Sessionld=-1774362... 3/25/2021


                                                                CCI 000830
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                                      Menu     Favorites        Tools         Other Applica ions     Reports         Help

                                  Grievance
   Lll11<$ ""'
                              TOMIS ID       I, .73        Pleasant-bey, Boaz                               Status    ACTV


    Reset key fields          Desorlptlon             Supervisor        ,       Warden             Commissioner


    Inquire
                           Grievance ID 00331686                                 Category    INP     Inappropriate - Non-g
    Refresh
                           Grievance Type     LIB     Library
    Modify

    Delete
                           Log Date      01/11/2019      ~                       Institution Log Number        3936

                           Supervisor Response Date Due            01/16/2019                      Actual   01/14/2019

                           Chairperson Response Date Due 01/23/2019                                Actual   01/15/2019

                           Action Taken R                Date                                      By
                                                                   01/23/2019        gJl
                           Appeal to Level 2 Date Due              01/20/2019                      Actual

                           Extension Number of Days

                                                                            Comments
                                       WE ARE AWARE OF THE PROBLEM AND WORKING ON IT. THERE ARE
                                       AL TERNATE WAVS OF GETTING LEGAL RESPONSES READY BY
                                       HANDWRITING DRAFTS OR USING TYPEWRITERS.


                           Posted By    COCKLY01 Cockrell, Lybrunca                                Date     01/23/2019


    FastPath




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                                                                CCI 000831
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                                      Menu      Favorites      Toots     Other Applications       Reports      Help

                                  Grievance
   ll11ks ,..
                              TOMIS ID       II •           Pleasant-bey, Boaz                        Status     ACTV


                                                    Supervisor                Warden          Commissioner
    Reset key fields

    Inquire                                                            Site   TTCC      Trousdale Turner Correction
                           Grievance ID       00335385
    Refresh
                           Category           REG            Regular - Standard
    Modify
                           Grievance Type REL                Religion Related
    Delete
                           Signed Date                                                 Title VI Complaint        ~
                                              06/05/2019
                                                               t:ll
                           Log Date           06/07/2019
                           Grieved Against COCKLY01
                                                               :rn                     Institution Log Number         441•



                           Grievance Text     INMATE CLAIMS THAT HE WAS DENIED TO HAVE TRADITIONAL

                           DURING A FEAST.




                           Posted By COCKLY01 Cockrell, Lybrunca                           Date     06/07/2019



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                                                                CCI 000832
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                           .
                                                    Favorites      Tools     Other Application        Reports      Help




    Links ,..     :   .,
                                  TOMIS ID       11 '           Pleasant-bey, Boaz                        Status       ACTV


    Reset key fields               Description            Supervisor           Warden            Commissioner


    Inquire
                               Grievance ID 00335385                            Category    REG    Regular - Standard
    Refresh
                               Grievance Type      REL Religion Related
    Modify

    Delete                     Log Date      06/07/2019                         Institution Log Number          4414

                               Supervisor Response Date Due            06/12/2019                Actual    10/30/2019

                               Chairperson Response Date Due           08/30/2019                Actual    11/07/2019

                               Action Taken A                Date                                By

                               Appeal to Level 2 Date Due              09/04/2019                Actual    11/07/2019

                               Extension Number of Days         143

                                                                           Comments
                                           SUPERVISOR ATTACHED AFFIDAVIT.




                               Posted By    LOPEEL03 Lopez, Elizabeth                            Date      11/20/2019


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                                                                CCI 000833
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                                                                Tools      Other Applications        Reports      Holp




    Links •
                              TOMIS ID      II•   7 1      Pleasant-bey., Boaz                           Status     ACTV


    Reset key fields                                                                            Commissioner


    Inquire                Grievance ID      00335385                         Category      REG        Regular - Standard

    Refresh                Grievance Type    REL        Religion Related

    Modify                 Log Date          06/07/2019                       Institution Log              4414

    Delete                 Appeal to Level 2 Date Due       09/04/2019                          Actual    11/07/2019
                           Board Hearing Date Due           09/11/2019                          Actual    11/07/2019

                           Warden Recommendation Date Due
                                                                                                                           l
                                                                        09/18/2019              Actual    11/13/2019

                           Warden Response Date Due 09/27/2019
                                                                                                                           l
                                                                                                Actual    11/13/2019

                           Warden Response Code             A    (A)gree or (D)isagree

                           Action Taken A           Date                                        By

                           Appeal to Level 3 Date Due 10/02/2019                                Actual    11/18/2019
                                                                                                                           ]
                           Extension Number of Days

                                                                        Comments
                                      CONCUR WITH SUPERVISOR



    FastPath
                           Posted By LOPEEL03           Lopez, Elizabeth                        Date       11/20/2019




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                                                                CCI 000834
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                                                 Favorites      Tools      Other Applications     Reports      Help




    Links ,..
                              TOMIS ID        II •           Pleasant-bey, Boaz                       Status      ACTV


    Reset key fields           Description           Suporvlsor              Wardon


    Inquire
                           Grievance ID         00335385                   Category     REG Regular - Standard
    Refresh
                           Grievance Type       REL Religion Related
    Modify
                           Log Date             06/07/2019                 Institution Log Number     4414
    Delete
                           Appeal to Level 2 Date Due           09/04/2019                 Actual    11/07/2019

                           Appeal to Level 3 Date Due           10/02/2019                 Actual    11/18/2019

                           Appeal Received Level 3 Date 11/19/2019              l   0

                           Commissioner Response Date Due            11/06/2019            Actual   11/21/2019
                           Remanded - (Y)es or (N)o             N



                                      r-'·iilYMl·l1~


    FastPath
                           Decision By

                           Posted By
                                       ==    DOTSLE02

                                             LOPEEL03
                                                             Dotson, Lee

                                                             Lopez, Elizabeth
                                                                                           Date

                                                                                           Date
                                                                                                    11/21/2019

                                                                                                    12/18/2019




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                                                                CCI 000835
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                                                Favorites      Tools     Other Applications       Reports      Help




    Link& .,..
                               TOMIS ID      II •           Pleasant-bey, Boaz                        Status     ACTV


    Reset key fields                                Supervisor                Warden          Commissioner


    Inquire
                            Grievance ID      00337402                 Site   TTCC      Trousdale Turner Correction
    Refresh
                            Category          INP            Inappropriate - Non-grievable
    Modify
                            Grievance Type REL               Religion Related
    Delete
                            Signed Date       08/12/2019                               Title VI Complaint

                            Log Date          08/29/2019      r!Jj                     Institution Log Number         467'

                            Grieved Against COCKLY01

                            Grievance Text    INMATE CLAIMS THAT HE IS NOT RECEIVING THE PROPER 11'00
                            S SUPPOSE TO RECEIVE DUE TO HIS RELIGION.
                            DEEMED INAPPROPRIATE DUE TO ALREADY GRIEVING THIS GRIEVANCE TYPE.




                            Posted By COCKLY01 Cockrell, Lybrunca                          Date     08/29/2019



    FastPath




  http://10 .10.166.26 :8096/Xhtml?JacadaApplicationName=ETOMIS&Sessionid=-1774362... 3/25/2021


                                                                CCI 000836
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 ETOMIS - Grievance                                                                                         Page 1 of 1


                                                Favorites      Tools     Othor AppHc tions        Reports      Help



    Links ~
                              TOMIS ID      -               Pleasant-bey, Boaz                        Status       ACTV


    Reset key fields          Doscrlptlon             Supervisor            Warden           Commissioner


    Inquire
                           Grievance ID 00337402                            Category   INP     Inappropriate - Non-g
    Refresh
                           Grievance Type       REL Religion Related
    Modify

    Delete                 Log Date      08/29/2019      1]j                Institution Log Number          4671

                           Supervisor Response Date Due            09/04/2019                Actual    11/18/2019

                           Chairperson Response Date Due 09/10/2019                          Actual    11/18/2019

                           Action Taken A                Date                                By

                           Appeal to Level 2 Date Due              09/15/2019                Actual    11/18/2019

                           Extension Number of Days

                                                                       Comments
                                       DEEMED INAPPROPRIATE, APPEAL TO NEXT LEVEL




                           Posted By    LOPEEL03 Lopez, Elizabeth                            Date      11/20/2019


    FastPath




  http://10.10.166.26:8096/Xhtml?JacadaApplicationName=ETOMIS&Sessionld=-1774362... 3/25/2021


                                                                CCI 000837
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 .ETUMlS - Urievance                                                                                             Page 1 of 1


                                          Menu     Favorites       Tools     Other Applications        Reports       Help

   eTornis                             Grievance
   Links ..,.      • <   • •
                                  TOMIS ID       II•           Pleasant-bey, Boaz                           Status    ACTV


    Reset key fields               Description          Supervisor              Warden            Commissioner


    Inquire                    Grievance ID       00337402                      Category      INP        Inappropriate - Nor

    Refresh                    Grievance Type     REL    Religion Related

    Modify                     Log Date           08/29/2019                    Institution Log              4671

    Delete                     Appeal to Level 2 Date Due      09/15/2019                         Actual    11/18/2019

                               Board Hearing Date Due          09/20/2019                         Actual    11/18/2019
                               Warden Recommendation Date Due              09/27/2019
                                                                                                                             l
                                                                                                  Actual    11/18/2019
                                                                                                                             ]
                               Warden Response Date Due 10/08/2019                                Actual    12/10/2019
                                                                                                                             ]
                               Warden Response Code            A    (A)gree or (D)isagree

                               Action Taken A           Date                                      By
                               Appeal to Level 3 Date Due 10/13/2019                              Actual     12/12/2019
                                                                                                                             I
                               Extension Number of Days

                                                                           Comments
                                           CONCUR WITH COMMITTEE, DEEMED INAPPROPRIATE



    FastPath
                               Posted By LOPEEL03        Lopez, Elizabeth                         Date       12/13/2019




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                                                                CCI 000838
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 ETOMIS - Grievance                                                                                                Page 1 of 1


                                          Menu        Favorites      Tools       Other Applications      Reports      Help

   eToniis
    Llnl<s ...,..   . , . II
                                  TOMIS ID        0               Pleasant-bey, Boaz                         Status      ACTV


    Reset key fields               Description             Supervisor              Warden


    Inquire
                               Grievance ID           00337402                   Category   INP    Inappropriate - Non-griev
    Refresh
                               Grievance Type         REL Religion Related
    Modify
                               Log Date               08/29/2019                 Institution Log Number      4671
    Delete
                               Appeal to Level 2 Date Due            09/15/2019                   Actual    11/18/2019

                               Appeal to Level 3 Date Due            10/13/2019                   Actual    12/12/2019

                               Appeal Received Level 3 Date 12/12/2019
                               Commissioner Response Date Due             11/18/2019              Actual   12/13/2019
                               Remanded - (Y)es or (N)o              N

                                                                             Decision
                                           CONCUR WITH SUPERVISOR




                               Decision By       DOTSLE02          Dotson, Lee                    Date     12/13/2019

                               Posted By         LOPEEL03          Lopez, Elizabeth               Date      12/17/2019
     FastPath




  http://10.10.166.26:8096/Xhtml?JacadaApplicationName=ETOMIS&Sessionld=-1774362... 3/25/2021


                                                                CCI 000839
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 ETOMIS - Grievance                                                                                               Page 1 of 1


                                       Menu      Favorites         Tools       Other Applications       Reports      Help

   e Toniis·
    Unl<.s •
                              TOMI$ ID        II •   311       Pleasant-bey, Boaz                           Status     ACTV


    Reset key fields                                       Supervisor               Warden          Comm •sioner


    Inquire
                           Grievance ID        00339799                      Site   TTCC      Trousdale Turner Correction
    Refresh
                           Category            REG               Regular - Standard
    Modify
                           Grievance Type VST                   Visitation
    Delete
                           Signed Date         12/22/2019         1]j                        Title VI Complaint        ~
                            Log Date                                                         Institution Log Number         486!
                                               01/13/2020         g)J
                           Grieved Against LOPEEL03

                            Grievance Text     INMATE CLAIMS HIS SISTER WAS NOT ABLE TO CLEAR THE CH
                            INT DUE TO HER CLOTHES. INMATE CLAIMS THE SHIFT SPERVISOR DENIED HE
                            HER VISIT.




                            Posted By LOPEEL03 Lopez, Elizabeth                                  Date     01/13/2020



    FastPath




  http://10.10.166.26:8096/Xhtml?JacadaApplicationName=ETOMIS&Sessionld=-1774362... 3/25/2021


                                                                CCI 000840
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 ETOMIS - Grievance                                                                                              Page 1 of 1




                           .
                                                    Favorites      Tools     Other Applications        Reports      Help



                   .   ;

                                  TOMIS ID       11 • 7         Pleasant-bey, Boaz                         Status       ACTV


    Reset key fields               Description                                 W rden             Commissioner


    Inquire
                               Grievance ID 00339799                            Category    REG     Regular - Standard
    Refresh
                               Grievance Type      VST Visitation
    Modify

    Delete                     Log Date      01/13/2020     ~                   Institution Log Number           4865

                               Supervisor Response Date Due           01/16/2020                  Actual    01/14/2020

                               Chairperson Response Date Due 01/23/2020                           Actual    01/16/2020

                               Action Taken A               Date                                  By

                               Appeal to Level 2 Date Due             01/28/2020                  Actual    01/16/2020

                               Extension Number of Days

                                                                           Comments
                                           ALL STAFF AND VISITORS ARE GIVEN 3 TRY'S TO CLEAR THE METAL
                                           DETECTOR, THERE ARE NO EXCEPTIONS.



                               Posted By    LOPEEL03 Lopez, Elizabeth                             Date      01/21/2020


    FastPath




  http://10.10.166.26:8096/Xhtml?JacadaApplicationName=ETOMIS&Sessionid=-1774362... 3/25/2021


                                                                CCI 000841
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 ETOMIS - Grievance                                                                                             Page 1 of 1


                                                Favorites        Tools      Other Ap~lications        Reports       Help




    Llnl<s •
                              TOMIS ID       II •   3        Pleasant-bey, Boaz                            Status    ACTV


                               Description              Supervisor              arden            Commissioner
    Reset key fields

    Inquire                Grievance ID       00339799                         Category      REG        Regular - Standard

    Refresh                Grievance Type      VST       Visitation

    Modify                 Log Date            01/13/2020                      Institution Log              4865

    Delete                 Appeal to Level 2 Date Due        01/28/2020                          Actual    01/16/2020

                           Board Hearing Date Due             01/24/2020                         Actual    01/24/2020

                           Warden Recommendation Date Due                 01/31/2020             Actual    01/24/2020

                           Warden Response Date Due 02/04/2020                                   Actual    01/25/2020

                           Warden Response Code              A    (A)gree or (D)isagree

                           Action Taken R               Date 01/28/2020      ~                   By

                           Appeal to Level 3 Date Due 01/30/2020                                 Actual

                           Extension Number of Days

                                                                         Comments
                                      CONCUR WITH SUPERVISOR



    FastPath
                           Posted By LOPEEL03            Lopez, Elizabeth                        Date       02/02/2020




  http://10.10.166.26:8096/Xhtml?JacadaApplicationName=ETOMIS&Sessionid=-1774362... 3/25/2021


                                                                CCI 000842
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  ETOMIS - Grievance                                                                                        Page 1 of 1


                                                Favorites      Tools     Other Applications       Reports      Help

   eTo,nis
    links •
                              TOMIS ID       II •           Pleasant-bey, Boaz                        Status     ACTV


    Reset key fields                                Suporvlsol'               Warden          Commrssloner


    Inquire
                            Grievance ID      00343011                 Site   TTCC      Trousdale Turner Correction
    Refresh
                            Category          INP            Inappropriate - Non-grievable
    Modify
                            Grievance Type HSV               Health Services
    Delete
                            Signed Date       06/11/2020       _tJ1j                   Title VI Complaint        ~
                            Log Date          07/03/2020
                            Grieved Against LOPEEL03
                                                              rn                       Institution Log Number         511!



                            Grievance Text    INMATE CLAIMS A INMATE WITH COVID WAS MOVED INTO THE
                            WERE HE IS HOUSED. INMATE CLAIMS DUE TO THAT HE GOT COVID.




                            Posted By LOPEEL03 Lopez, Elizabeth                            Date     07/03/2020



    FastPath




  http://10.10.166.26:8096/Xhtml?JacadaApplicationName=ETOMIS&Sessionld=-1774362... 3/25/2021


                                                                CCI 000843
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  hlUMl~ - Urievance                                                                                      Page 1 of 1


                                      M1mu      Favorites       Tools     Other Applications

   e Tornis
    Links •
                              TOMIS ID       II •     0     Pleasant-bey, Boaz                          Status   ACTV


    Reset key fields          Description                                   Warden             Commissioner


    Inquire
                          Grievance ID 00343011                              Category   INP      Inappropriate - Non-g
    Refresh
                           Grievance Type      HSV Health Services
    Modify

    Delete                 Log Date      07/03/2020       glj                Institution Log Number       5115

                          Supervisor Response Date Due            07/08/2020                   Actual   07/07/2020

                           Chairperson Response Date Due          07/14/2020                   Actual   07/07/2020

                          Action Taken A                  Date                                 By

                          Appeal to Level 2 Date Due              07/12/2020                   Actual   07/07/2020

                           Extension Number of Days

                                                                        Comments
                                       THE MEDICAL DEPARTMENT DOES NOT CONTROL INMATE HOUSING
                                       ASSIGNMENT



                          Posted By     LOPEEL03 Lopez, Elizabeth                              Date     07/08/2020


    FastPath




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                                                                CCI 000844
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  h l VMl:S -     Unevance                                                                                      Page 1 of 1


                                                  Favorites       Tools     Other Applications        Reports       Help

    eTornis
    Lllll<S ,..
                                TOMIS ID       II •           Pleasant-bey, Boaz                           Status    ACTV


     Reset key fields            Description           Supervisor              Warden            Commissioner


     Inquire                 Grievance ID       00343011                       Category      INP        Inappropriate - Nor

     Refresh                 Grievance Type      HSV    Health Services

     Modify                  Log Date           07/03/2020                     Institution Log              5115
     Delete                  Appeal to Level 2 Date Due       07/12/2020                         Actual    07/07/2020
                             Board Hearing Date Due           07/14/2020                         Actual    07/08/2020
                             Warden Recommendation Date Due               07/21/2020             Actual
                                                                                                                            I
                                                                                                           07/08/2020
                                                                                                                            ]
                             Warden Response Date Due 07/30/2020                                 Actual    07/09/2020
                                                                                                                            j
                             Warden Response Code             A    (A)gree or (D)isagree

                             Action Taken A            Date                                      By

                             Appeal to Level 3 Date Due 07/14/2020                               Actual     07/12/2020
                                                                                                                            ]
                             Extension Number of Days

                                                                          Comments
                                        WARDEN CONCUR WITH SUPERVISOR



     FastPath
                             Posted By LOPEEL03         Lopez, Elizabeth                         Date       07/13/2020




  http://10.10.166.26:8096/Xhtml?JacadaApplicationName=ETOMIS&Sessionid=-1774362... 3/25/2021


                                                                CCI 000845
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 bl UMlS - Unevance                                                                                          Page 1 of 1


                                                 Favorites      Tools      Other Applications      Reports       Help

   eTornis-
                              TOMIS ID        II •           Pleasant-bey, Boaz                         Status     ACTV


    Reset key fields           Description           Supervisor              Warden             Commissioner


    Inquire
                           Grievance ID         00343011                   Category   INP    Inappropriate - Non-griev
    Refresh
                           Grievance Type       HSY Health Services
    Modify
                           Log Date             07/03/2020                 Institution Log Number      5115
    Delete
                           Appeal to Level 2 Date Due           07/12/2020                  Actual   07/07/2020
                           Appeal to Level 3 Date Due           07/14/2020                  Actual    07/12/2020

                           Appeal Received Level 3 Date 07/13/2020

                           Commissioner Response Date Due            08/14/2020             Actual   07/13/2020
                                                                                                                        I•
                           Remanded - (Y)es or (N)o             N

                                                                        Decision
                                       CONCUR WITH SUPERVISOR, APPEAL DENIED




                           Decision By    DOTSLE02           Dotson, Lee                    Date     07/13/2020         ~

                           Posted By         LOPEEL03        Lopez, Elizabeth               Date     08/07/2020
    FastPath




  http://10.10.166.26:8096/Xhtml?JacadaApplicationName=ETOMIS&Sessionid=-1774362... 3/25/2021


                                                                CCI 000846
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 .t 1 UMl~ - unevance                                                                                       Page 1 of 1


                                      Menu      Favorites      Tools     Other Applications       Reports       Help

   eTornis
                              TOMIS ID       11 •           Pleasant-bey, Boaz                         Status    ACTV


    Reset key fields                                Suporvisor                Warden          Commls-sfoner

    Inquire
                           Grievance ID       00347567                 Site   TTCC      Trousdale Turner Correction
    Refresh
                           Category           REG            Regular - Standard
    Modify
                           Grievance Type     cos            Counseling Staff
    Delete
                           Signed Date                                                                            ~
                                              03/15/2021
                                                                •                      Title VI Complaint

                           Log Date           03/19/2021
                           Grieved Against HOLLJA10
                                                              rn                       Institution Log Number          5761



                           Grievance Text     INMATE CLAIMS CASE MANAGER CRAWFORD INTENTIONALLY IGN
                           HIS REQUESTS FOR SCHEDULING A JUDICIAL CONFEIU:NCE WITH THE FEDERAL
                           GE WHILE MAKING TIME TO HANDLE MATTERS NOT RELATED TO HER JOB.




                           Posted By HOLLJA10 Holley, Janel                                Date     03/19/2021



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                                                                CCI 000847
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  t 1 vivu~ -   unevance                                                                                      Page 1 of 1


                                      Menu     Favorites      Tools      Other Applications         Reports       Help

    eToniis·
    Llnl\s T     Suspend
                              TOMIS ID       II•           Pleasant-bey, Boaz                            Status      ACTV


     Reset key fields          Description            Supervisor            Warden            Commi      ioner


     Inquire
                           Grievance ID 00347567                                Category   REG   Regular - Standard
     Refresh
                           Grievance Type     COS Counseling Staff
     Modify

     Delete                Log Date      03/19/2021                             Institution Log Number        5769

                           Supervisor Response Date Due            03/24/2021                 Actual     03/22/2021
                           Chairperson Response Date Due 03/30/2021                            Actual     03/22/2021

                           Action Taken R                Date      03/22/2021                  By

                           Appeal to Level 2 Date Due              03/27/2021                 Actual

                           Extension Number of Days

                                                                      Comments
                                       THIS GRIEVANCE HAS NO MERIT. THE WARDENS SECRETARY MRS.
                                       OSWALD SCHEDULES THE DATE AND TIME FOR ZOOM CALLS IN
                                       VISITATION, NOT CASE MANAGER CRAWFORD.


                           Posted By    HOLLJA10 Holley, Janel                                 Date      03/24/2021


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                                                                CCI 000848
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